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PROB 49
(3/89)

UNITED STATES DISTRICT COURT
DENVER, DISTRICT OF COLORADO

Waiver of Hearing to Modify Conditions
of Probation/Supervised Release or Extend Term of Supervision

| have been advised and understand that | am entitled by law to a hearing and
assistance of counsel before any unfavorable change may be made in my conditions of
probation and supervised release or my period of supervision being extended. By
“assistance of counsel,” | understand that | have the right to be represented at the
hearing by counsel of my own choosing if | am able to retain counsel. | also understand
that | have the right to request the court to appoint counsel to represent me at such a
hearing at no cost to myself if | am not able to retain counsel of my own choosing.

| hereby voluntarily waive my statutory right toa hearing and to assistance of
counsel. | also agree to the following modification of my conditions of probation and
supervised release or to the proposed extension of my term of supervision:

You must reside in a residential reentry center (RRC) for a period of up to 180
days, to commence upon release from confinement or upon the first available
vacancy at an RRC and must observe the rules of that facility.

Witness Anh

(U.S. Probation Officer)

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" (Date)

